                              THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH


    MICHAEL A. PERRY,                                        ORDER ADOPTING [86] REPORT AND
                                                             RECOMMENDATION TO GRANT [77]
                            Plaintiff,                             MOTION TO DISMISS

    v.                                                           Case No. 1:23-cv-00065-DBB-CMR

    WEBER COUNTY, et al.,                                             District Judge David Barlow

                            Defendants.



         The Report and Recommendation 1 issued by United States Magistrate Judge Cecilia M.

Romero on March 17, 2025 recommends that the court dismiss Plaintiff Michael Perry’s (“Mr.

Perry”) action. 2 The magistrate judge reasoned dismissal was proper because Mr. Perry failed to

state any plausible claim for relief. 3 The magistrate judge advised Mr. Perry of his right to object

to the Report and Recommendation within 14 days of its service pursuant to 28 U.S.C.

§ 636(b)(1) and Federal Rule of Civil Procedure 72(b). 4 Mr. Perry did not file an objection. 5

Because he filed no written objection by the specified deadline, the court reviews the Report and

Recommendation for clear error. 6 Having done so, the court finds that the magistrate judge’s

analysis and conclusions are sound and no clear error appears on the face of the record.


1
  R. & R. to Dismiss Action, ECF No. 86.
2
  Id. at 8.
3
  Id.
4
  Id. at 10.
5
  See Docket.
6
  Johnson v. Progressive Leasing, No. 2:22-cv-00052, 2023 WL 4044514, at *2 (D. Utah June 16, 2023) (citing
Johnson v. Zema Sys. Corp., 170 F.3d 734, 739 (7th Cir. 1999)). “[A] party’s objections to the magistrate judge’s
report and recommendation must be both timely and specific to preserve an issue for de novo review by the district
court or for appellate review.” Port City Props. v. Union Pac. R. Co., 518 F.3d 1186, 1190 n.1 (10th Cir. 2008)
(alteration in original) (quoting United States v. 2121 E. 30th Street, 73 F.3d 1057, 1060 (10th Cir. 1996)).

                                                         1
          Accordingly, IT IS HEREBY ORDERED that the Report and Recommendation 7 is

ADOPTED. The court DISMISSES Plaintiff’s action without prejudice.



          Signed April 21, 2025.

                                          BY THE COURT


                                          ________________________________________
                                          David Barlow
                                          United States District Judge




7
    ECF No. 86.

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